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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


 CYBOENERGY, INC.,

                             Plaintiff,
     v.                                                Case No. 6:22-cv-00281-ADA

 APTOS SOLAR TECHNOLOGY LLC,

                             Defendant.                JURY TRIAL DEMANDED



                         PLAINTIFF’S STIPULATION OF DISMISSAL

          Pursuant to Federal Rule 41 (a)(1)(A)(i), the Plaintiff, CyboEnergy, Inc. hereby files this

notice of dismissal of this action for all of Plaintiff’s claims. The Plaintiff agrees that the dismissal

of Plaintiff’s claims shall be WITH PREJUDICE as to the asserted patent and each party shall bear

its own costs, expenses and attorneys’ fees.

 Dated: July 11, 2022

                                                       Respectfully submitted,

                                                       /s/ William P. Ramey

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